UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


VALENTINA VELEVA,
on behalf of herself, FLSA Collective Plaintiffs
and the Class,                                                   Case No.: 1:20-cv-
                                                                 01363
                         Plaintiff,

                         v.                                      RULE 68 JUDGMENT

DON PABLO, INC., PABLO CASTRO,
and XIOMARA CASTRO

                         Defendants.


        WHEREAS, pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants DON

PABLO, INC., PABLO CASTRO, and XIOMARA CASTRO (collectively, “Defendants”), having offered

to allow Plaintiff VALENTINA VELEVA (“Plaintiff”) to take a judgment against them, jointly and

severally, in the sum of Fifteen Thousand Dollars ($15,000.00), in accordance with the terms and conditions

of the Defendants’ Rule 68 Offer dated September 22, 2020 and filed as Exhibit A to Docket Number 11.;


        WHEREAS, on October 5, 2020, Plaintiff’s attorney having confirmed Plaintiff’s acceptance of

Defendants’ Offer of Judgement (Dkt. No. 11);


        It is ORDERED, ADJUDGED, AND DECREED, that judgment is entered in favor of Plaintiff

in accordance with the terms and conditions of Defendants’ Rule 68 Offer dated September 22, 2020 and

filed as Exhibit A to Docket Number 11. The Clerk is directed to close this case.



SO ORDERED:

Dated: October 6, 2020                             ___________________________________
      New York, New York                           Judge Edgardo Ramos
                                                   United States District Judge
